




Dismissed and Memorandum Opinion filed August 21, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed August 21, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00314-CR

____________

&nbsp;

LUIS ANTONIO TOBAR,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
262nd District Court

Harris County, Texas

Trial Court Cause No.
1130841

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not issued an
opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed August 21, 2008.

Panel consists of Justices Yates,
Seymore, and Boyce.

Do not publish C Tex.
R. App. P. 47.2(b).





